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                                                                                                      S/t/t

                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION
                                                                                FILED
                                                                                  Nol, I 2 2g2lcA4
GAVIN EVANS, AN INDIVIDUAL, PLAINTIFF,
                                                                               THOMAS    G BRUTON
                                                                           CLERK, U.S. DISTRICT COURT
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
DEFENDANTS.
                                                                CASE NUMBER: I :21 -cv-05237
                                                          ASSIGNED JUDGE:Mortho M. Pocold
                                                 DESIGNATED MAGISTRATE JUDGE: MOTiO VOIdEZ

Defendont:
PingooPrints

                                      DEFENDANT'S ANSWER

 lhe Defendont, onswer the Comploint os follows in response to eoch numbered
l,
porogroph:

JURISDICTION AND VENUE

l.       Defendont hos insufficient informoiion to stote whether the ollegotion is true or folse'
2.       Defendont denies the ollegotion thot it conducts significont business in lllinois.
3.       Defendont denies the ollegotion thot it hos sold ony products infringing lhe Plointiff's
         copyright in lllinois.

INTRODUCTION

4.       Defendont denies the ollegotion thot il trodes upon the Plointiff's copyright.
5.       Defendont does not dispule the Plointiff's copyright registrotion no. VA-2-241-677
6.       Defendont denies the ollegotion thot it porticipoted in creoting numerous online
         stores to give the impression to consumers they ore legitimote websites selling
         products monufoctured or outhorized by Govin Evons.
7.       Defendont denies the ollegotion thot it shores numerous unique identifiers with other
         stores nomed os Defendonts or hos o relotionship with them.
8.       Defendont hos insufficient informotion to stote whether the ollegotion is true or folse.

THE PLAINTIFF

9.       Defendoni   hos insufficient informotion to stote whether the ollegotion is true or folse.
 r0.     Defendont   hos insufficient informotion lo stote whether the ollegotion is true or folse.
 I t.    Defendont   hos insufficient informotion to stote whether the ollegotion is true or folse.
 12.     Defendont   hos insufficient informotion to stote whether the ollegotion is true or folse.
 13.     Defendont   hos insufficient informotion to stote whether the ollegotion is true or folse.
 14.     Defendont   hos insufficient informotion to stote whether the ollegotion is true or folse.
 15.     Defendont   hos insufficient informotion to stote whether the ollegotion is true or folse.
 16.     Defendont   hos insufficient informotion lo stote whether the ollegotion is true or folse.
 17.     Defendont   hos insufficient informotion to stote whether the ollegolion is true or folse.
 I8.     Defendont   hos insufficient informotion to stole whether the ollegotion is true or folse.
 19.     Defendonl   hos insufficient informotion lo stote whether the ollegotion is true or folse.
 20.     Defendont   hos insufficient informotion to stote whether the ollegotion is true or folse.
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THE DEFENDANTS

21.      Defendont denies the ollegotion thot ii resides in the People's Republic of Chino.
         Defendont denies the ollegotion thot it hos sold infringing Dovid Bowie products in
         lllinois.

THE DEFENDANTS' UNLAWFUL CONDUCT

22.      Defendont denies the ollegotion of intentionol copying or infringement.
23.      Defendont hos insufficient informotion io stote whether the ollegotion is true or folse.
24.      Defendont denies the ollegolion thot it hos designed on online store to oppeor to
         unknowing consumers os on outhorized online retoiler.
25.      Defendont denies the ollegotion thot it hos deceived unknowing consumers by using
         lhe Govin Evons nome ond titles of copyrighted works without outhorizotion.
         Defendont denies using SEO or sociol medio to offecl seorch results.
26.      Defendont denies the ollegotion of operoting in o collective monnerwith other
         Defendonts ond operoting os o collective enterprise.
27.      Defendont denies the ollegotion of being port of o mossive infringing operotion.
28.      Defendont denies the ollegotion of inteneloted with other Defendonts.
29.      Defendont denies the ollegotion of operoting multiple credit cord occounts or third-
         porty poyment processor occounts.
30.      Defendont denies the ollegotion it hos knowingly ond wilfully infringed the Dovid
         Bowie copyright owned by Govin Evons.
3l.      Defendont denies the ollegotion it hos knowingly ond wilfully infringed the Dovid
         Bowie copyright owned by Govin Evons. Defendont denies the ollegotion it hos
         profited unjustly from such octivities of the expense of Govin Evons.




COUNT     I


COPYRIGHT INFRINGEMENT (17 U.s.C. S 501 (o))

33.       N/A
34.       Defendont hos insufficient informotion to stote whether the ollegotion is true or folse.
35.       Defendont hos insufficient informotion to stoie whether the ollegotion is lrue or folse.
36.       Defendont hos insufficient informotion io stote whether the ollegotion is true or folse.
37.       Defendont denies the ollegotion thot the item it hod listed for sole wos one of the
          Govin Evons copyrighted works or hod o notice odvising thot the product wos
          prolected by the copyright lows of the United Stotes.
38.       Defendont denies the ollegotion it wrongfully creoted copies of the copyrighted work
          without the Plointiff's consent.
39.       Defendont denies the ollegotion thot it infringed upon the Govin Evons copyright by
          moking derivotive works by producing ond distributing unouthorized reproductions of
          the Govin Evons copyrights.
40.       Defendont denies the ollegotion thot it hos sold infringing works of Plointiff's
          copyright.
41.       Defendont denies the ollegotion it hos obtoined profits os o direct result of copyright
          infringement.
42.       Defendont hos insufficient informotion to stote whether the ollegotion is true or folse.
43.       Defendont denies the ollegotion thot its conduct is cousing greot ond ineporoble
          injury thot connot be fully compensoted or meosured monetorily.
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COUNT      II



vtoLATtoN oF tlltNols uNlFoRM          DECEPTTVE TRADE PRACTICES     ACT (8.l5 ILCS S 510, et seq.)

44.        Defendont hos insufficient informotion to stote whether the ollegotion is lrue or folse.
45.        Defendonl denies it hos engoged in octs violoting lllinois low.
46.        Defendont denies lhe ollegotion it hos octed in wilfulviolotion of the lllinois Uniform
           Deceptive Trode Proclices Act.
47.        Defendont denies the ollegotion thot its conducl hos coused the Plointiff to suffer
           domoge to its reputotion ond goodwill.



SUMMARY OF RESPONSE

I osk   the Court to:

Dismiss this     comploint on the following bosis:

Ref   2:   The Defendont does not      conduct significont business in   lllinois.

Ref   3:   No product thot hos ollegedly violoted copyright hos been sold by the defendont to
           ony consumer in lllinois.

Ref l0: The Plointiff hos submitted o selection of photogrophs thot ore ollegedly the subject
           of the copyright infringement. The ilem ollegedly infringing the copyright offered for
           sole by the Defendont is not included in this submission of photogrophs. The item
           offered for sole by the Defendont wos on originol piece of ortwork loosely bosed
           upon, but significontly different to, one of the phoiogrophs. lt would be clossified os o
           tronsformotive orfwork ond of foir use (Coriou v. Prince,T\4F.3d 694 (2d Cir.20l3).) lt
           wos obtoined from on online ort website where users uplood originol ortwork. There
           wos no copyright notificotion on this ortwork ond the ortwork wos offered free for
           commercioluse.




Ref 25: The       Defendont is not port of o mossive collective enlerprise operoting out of Chino, it
           is   o smoll, independent seller operoting solely on the Amozon morketploce.
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Furthermore,    I osk   the Court to:

Dlsmlss the   comptolnt for lock of personollurlsdlctlon over the defendont.

        The Defendont is bosed in the UK ond no connection with, or presence in, the district
        of lllinois in which this cose hos been filed ond thot the Court hos no legol outhority lo
        heor the Plointiff's cose ogoinst the Defendont.

        Dlsmlss lhe complolnl for follure to Joln on indlspensoble porly under Rule 19.

        The Plointiff foiled to sue someone who must be included in the lowsuit before the
        Courl con decide lhe issues roised in the comploint. There ore numerous porlies ond
        sellers nol nomed in lhe comploint who sell both the products owned by Govin Evons
        copyright ond olso the products similor to the item the Defendont offered for sole
        which is orgued not to be under the copyright of Govin Evons.

        For exomple:

        Seller: Limeng2O2l

        htlos://www.eboy.com/itm/    37 365621 24   52




                                                                                     Satiqr,it;alfr*n




                                                                                     'Ms"iE'




https://www.eboy.com litm I 2341 69 1 46632

Seller: Elg-print




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https://www-M
Seller: Nonome_UK



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htlos:/iwww.eboy.com/itm/ I 924587338 I 6

Seller: Convosorl20l9


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I osk   the Court to:

          lnstruci the Plointiff to immediotely withdrow its comploint ogoinst the Defendont with
          Amozon.com
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COUNTERCLAIM

The folse ond inconect ollegotions by the Plointiff ogoinst the Defendont hove resulted in on
interruption to the normol legolond legitimote business conducled by the Defendont on the
Amozon.com e-commerce plotform. As o result of the ollegotions by the Plointiff, ond the
temporory restroining order, the Defendont hos incuned o significont loss of troding revenue
while the Defendont's seller occount hos been inoctive due to restrictions ploced upon the
occount by Amozon of the behest of the Plointiff. As such, the Defendont requests the Court:

    I   )   Thol the Defendont be oworded octuol domoges, stotutory domoges, ond/or other
            ovoiloble domoges
   2)       The Plointiff poy to the Defendont the equivolent loss of revenue from the intenuption
            to the Defendont's selling octivities on the Amozon occount from the dote the
            comploint to Amozon wos lodged through to the dote the occount is operoble
            ogoin.
   3)       Thol Defendonl be oworded its reosonoble ottorneys' fees ond costs;ond,
   4)       Any ond oll other relief thot this Court deems just ond proper.



DATED:      November    4th, 2021


Respectfully submitted,

M Dovies
7 South John Street
Merseyside Liverpool
LI 8BU
Emoil : pingooprintsuso@gmoil.com
Tel:07707546106

Signed:

MDavLes
                          rv/ry
Acting os on individuol pro se.


CERTIFICAIE OF SERVICE

A copy of this document wos served upon Plointiff or upon Plointiff's ottorney vio emoil to the
following oddress on November 51n 2021;

attorney@amsullivan law.com

A copy of this document wos sent vio regulor       moillo the Clerk's office on November 5tt'2021:

Thomos G. Brulon
Clerk of Court
Eostern Division
Dirksen U.S. Courthouse
219 S. Deorborn Street
Chicogo, lL 60604
